         Case 2:24-cv-04979-SVW-JC              Document 132           Filed 05/14/25        Page 1 of 2 Page ID
 Name and address:                                    #:8294
 Jason H. Tokoro (State Bar No. 252345)
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 Brian Neach (State Bar No. 242801)
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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
ALEX VILLANUEVA                                                   CASE NUMBER:

                                                                                   2:24-cv-04979 SVW (JCx)
                                                   PLAINTIFF(S)
                               v.

COUNTY OF LOS ANGELES, et al.
                                                                               NOTICE OF APPEARANCE OR
                                                                               WITHDRAWAL OF COUNSEL
                                                 DEFENDANT(S)

                                                      INSTRUCTIONS
Appearance of Counsel:
Attorneys may use this form to enter an appearance in a case, or to update the docket of a case to reflect a prior
appearance. To do so, complete Sections I, II, and IV of this form, then file and serve the form in the case. (Using an
attorney's CM/ECF login and password to file this form will expedite the addition of that attorney to the docket as counsel
of record.)
Withdrawal of Counsel:
This form may be used to terminate an attorney's status as counsel of record for a party in three situations: (1) the
attorney being terminated has already been relieved by the Court, but the docket does not yet reflect that fact; (2) at least
one member of the attorney's firm or agency will continue to represent that party and the withdrawing attorney is not the
only member of the Bar of this Court representing that party; or (3) the represented party has been dismissed from the
case, but the attorneys are still receiving notices of electronic filing. For any of these situations, complete Sections I, III,
and IV of this form, then file and serve the form in the case.
Note: In situations not covered above, attorneys seeking to withdraw from a case must first obtain permission from the
 Court. In such circumstances, attorneys should complete and file a "Request for Approval of Substitution or Withdrawal of
 Counsel" (Form G-01) rather than this "Notice of Appearance or Withdrawal of Counsel" (Form G-123). See Form G-Olfor
further information.
SECTION I - IDENTIFYING INFORMATION
Please complete the following information for the attorney you wish to add or remove (if removing an attorney, provide the
information as it currently appears on the docket; if appearing pro hac vice, enter "PHV" in the field for "CA Bar Number'J;

Name: Brian Neach                                                                   CA Bar Number: 242801
Firm or agency: MILLER BARONDESS, LLP
Address: 2121 Avenue of the Stars, Suite 2600, Los Angeles, CA 90067
Telephone Number: -------------
                  (310) 552-4400                                     Fax Number: --------------
                                                                                 (310) 552-8400
Email: bneach@millerbarondess.com
Counsel of record for the following party or parties: County of Los Angeles, County of Los Angeles Sheriffs Dept., L.A.
County Board of Supervisors, County Equity Oversight Panel, Los Angeles County Office of Inspector General,
Constance Komoroski, Mercedes Cruz, Roberta Yang, Laura Lecrivain, Sergio V. Escobedo, Ron Kopperud, Robert G.
 Luna, Max Huntsman, and Esther Lim
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                                                        #:8295
SECTION II -TO ADD AN ATTORNEY TO THE DOCKET
Please select one of the following options:
 D      The attorney listed above has already appeared as counsel of record in this case and should have been added to the
        docket. The date of the attorney's first appearance in this case:
                                                                           ---------
 (8]    The filing of this form constitutes the first appearance in this case of the attorney listed above. Other members of
        this attorney's firm or agency have previously appeared in the case.
 D      The filing of this form constitutes the first appearance in this case of the attorney listed above. No other members
        of this attorney's firm or agency have previously appeared in the case.
 D      By order of the court dated _ _ _ _ _ _ _ _ _ in case number _ _ _ _ _ _ _ _ _ _ _ (see attached
        copy), the attorney listed above may appear in this case without applying for admission to practice pro hac vice.
 D      This case was transferred to this district by the Judicial Panel on Multidistrict Litigation ("JPML") pursuant to 28
        U.S.C. § 1407 from the _______ District of _ _ _ _ _ _ _ _~ where it was assigned case number
        _ _ _ _ _ _ _ _ _. The attorney listed above is counsel of record in this case in the transferee district, and is
        permitted by the rules of the JPML to continue to represent his or her client in this district without applying for
        admission to practice pro hac vice and without the appointment oflocal counsel.
 D      O n - - - - - - - - - ~ the attorney listed above was granted permission to appear in this case pro hac vice
        before the Bankruptcy Court, and L.Bankr.R. 8 authorizes the continuation of that representation in this case before
        the District Court.
In addition, if this is a criminal case, please check the applicable box below. The attorney listed above is:
         □ USAO     □ FPDO       □ CJA Appointment □ Pro Bono             □ Retained



SECTION III - TO REMOVE AN ATTORNEY FROM THE DOCKET
Notices ofElectronic Filing will be terminated. Please select one of the following options:

 D      The attorney named above has already been relieved by the Court as counsel of record in this case and should
        have been removed from the docket. Date of the order relieving this attorney: _ _ _ _ _ _ _ _ _ __

 D      Please remove the attorney named above from the docket of this case; at least one member of the firm or agency
        named above, and at least one member of the Bar of this Court, will continue to serve as counsel of record for the
        party or parties indicated.
        (Note: ifyou are removing yourselffrom the docket of this case as a result of separating from a firm or agency, you
        should consult Local Rules 5-4.8.1 and 83-2.4 and Form G-06 ("Notice of Change ofAttorney Business or Contact
        Information"), concerning your obligations to notify the Clerk and parties of changes in your business or contact
        information.)
 D      The represented party has been dismissed from the case, but the attorneys are still receiving notices of electronic
        filing. Date party was dismissed:

 D      The attorney named above was appointed on appeal and the appeal has been adjudicated. Date the mandate was
        filed:

SECTION IV - SIGNATURE

I request that the Clerk update the docket as indicated above.


       Date: May 14, 2025                              Signature:

                                                       Name:        BRIANNEACH

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